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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
IN RE:                                                           Chapter 11

ABR BUILDERS LLC,                                                Case No. 19-11041 (SHL)

                                             Debtor.
-------------------------------------------------------------X

                          DEBTOR'S PLAN OF REORGANIZATION
                   DATED OCTOBER 2, 2019 (CORRECTED OCTOBER 8, 2019)

          The above Debtor proposes the following Plan of Reorganization pursuant to § 1121 of

the Bankruptcy Code.           The Plan contemplates the payment of the secured claim, Administration

claims, priority taxes, priority wage claims and unsecured claims over four (4) years from the

Debtor paying $380,000 in cash and, over time, the Debtor’s principals paying at least $200,000

and from the net proceeds of litigation with 1143 Fifth, LLC.

                                                 ARTICLE I

                                                DEFINITIONS

          1.         For purposes of this Plan, the following terms shall have the respective meanings

as hereinafter set forth (such meanings to be equally applicable to the singular and plural forms

of the terms defined, unless the context otherwise requires). A term used in the Plan that is not

defined in the Plan but is used in the Bankruptcy Code shall have the meaning assigned to it in

the Bankruptcy Code. Capitalized terms used in this Plan shall at all times refer to the terms as

defined in this Article I.




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“Administrative Claim”                            An Allowed Claim or requests for payment
                                                  under § 503(b) entitled to priority under §
                                                  507(a)(2) of the Bankruptcy Code,
                                                  administrative expenses approved by the
                                                  Court pursuant to Bankruptcy Code §
                                                  503(b), and United States Trustee fees under
                                                  28 U.S.C. § 1930 (United States Trustee fees
                                                  are not required to have been filed as a
                                                  request for payment).

“Allowed”                                         Means: (a) with respect to an Administrative
                                                  Claim of the kind described in § 503(b), (2),
                                                  (3), (4) or (5) of the Bankruptcy Code, an
                                                  Administrative Claim that has been Allowed,
                                                  in whole or in part, by a Final Order; (b) with
                                                  respect to any other Administrative Claim,
                                                  including an Administrative Claim of the
                                                  kind described in § 503(b), an Administrative
                                                  Claim as to which no objection has been
                                                  filed; (c) with respect to any Claim that is not
                                                  an Administrative Claim, a Claim that is
                                                  either (i) listed on the Schedules as not
                                                  disputed, contingent, or unliquidated, or (ii)
                                                  is not a Disputed Claim or (iii) has been
                                                  allowed by a Final Order; or (d) with respect
                                                  to any Equity Security Interest, an Equity
                                                  Security Interest that is not Disputed.



“Bankruptcy Code”                                 Title 11 of the United States Code, § 101, et
                                                  seq. or as amended thereafter in effect as of
                                                  the Petition Date.

“Bankruptcy Rules”                                The Rules of Bankruptcy Procedure as
                                                  applicable to cases under Title 11 of the
                                                  United States Code.

“Business Day”                                    Any day other than a Saturday, Sunday or
                                                  legal holiday as such term is defined in
                                                  Bankruptcy Rule 9006.

“Chapter 11”                                      Chapter 11 of the Bankruptcy Code.



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“Claim”                                            A Claim, as defined in § 101(5) of the
                                                   Bankruptcy Code, against the Debtor
                                                   including, without limitation, claims
                                                   allowable under § 502 of the Bankruptcy
                                                   Code or requests for payment of
                                                   administrative expenses allowed under § 503
                                                   of the Bankruptcy Code.

“Claimant” or “Creditor”                           The holder of a Claim, including the holder
                                                   of a claim for damages resulting from the
                                                   rejection of an unexpired executory contract
                                                   or lease.

“Confirmation Date”                                The date on which an Order confirming this
                                                   Plan is entered by the Court, provided that
                                                   such Order has not been stayed.

“Confirmation Order”                               An Order of the Bankruptcy Court
                                                   confirming the Plan in accordance with the
                                                   Bankruptcy Code.

“Court”                                            The United States Bankruptcy Court for the
                                                   Southern District of New York, or such other
                                                   court as may from time to time have original
                                                   jurisdiction over this Chapter 11 proceeding.

“Debtor”                                           ABR Builders LLC

“Deficiency”                                       Shall be the amount of the insufficiency
                                                   required to be paid to any Class under the
                                                   Plan.

“Disallowed Claim”                                 Any Claim or portion thereof that is
                                                   determined in a Final Order of the Court not
                                                   to be allowed pursuant to § 502 and 503 of
                                                   the Bankruptcy Code.

“Disclosure Statement”                             Any disclosure statement required by § 1125
                                                   of the Bankruptcy Code and approved by the
                                                   Court with respect to this Plan.

“Disputed”                                         Means, (1) with respect to any Claim other
                                                   than an Administrative Claim, a Claim (i)
                                                   that would be deemed filed pursuant to §
                                                   1111(a) of the Bankruptcy Code but as to

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                                                    which (A) a proof of claim has been timely
                                                    filed that is inconsistent in any way with the
                                                    description or treatment of such Claim in the
                                                    Schedules, or (B) as to which an objection
                                                    has been filed, or (ii) that would not be
                                                    deemed filed pursuant to § 111(a) of the
                                                    Bankruptcy Code, whether by reason of its
                                                    exclusion from the Schedules or its
                                                    description therein as disputed, contingent or
                                                    unliquidated, but as to which a proof of claim
                                                    has been filed; or (2) with respect to an
                                                    Administrative Claim, an Administrative
                                                    Claim as to which an objection has been
                                                    filed.

“Distribution”                                      A distribution of cash or cash equivalents to
                                                    the holders of Allowed Claims under the
                                                    Plan.

“Effective Date”                                    Shall be 30 days after the Confirmation Date.

“Estate”                                            The estate created in this case pursuant to §
                                                    541 of the Bankruptcy Code.

“Final Distribution”                                The date on which all Distributions provided
                                                    for under this Plan have been made.

“Final Order”                                       An Order of a court as to which (a) any
                                                    appeal that has been taken has been
                                                    determined finally or dismissed, (b) the time
                                                    for appeal has expired and (i) no timely
                                                    Notice of Appeal has been filed and (ii) no
                                                    Order of any Court having the affect of
                                                    tolling or otherwise extending the effect of
                                                    the Order or the appeal period of such Order.

“Net Income”                                        All income and receipts of the Debtor less all
                                                    actual cash expenses, general overhead and
                                                    disbursements and any income taxes (other
                                                    than non-cash items such as depreciation and
                                                    amortization). Payments to creditors under
                                                    this Plan are considered expenses that reduce
                                                    the Debtor’s Net Income. This definition
                                                    applies solely for purposes of determining
                                                    payments made to creditors under the Plan
                                                    and is independent of any definitions under
                                                    the Internal Revenue Code
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“Petition Date”                                    April 4, 2019

“Plan”                                             Debtor’s Plan of Reorganization or as
                                                   modified in accordance with the Bankruptcy
                                                   Code.

“Pot”                                              Shall mean the fund of (a) principals
                                                   payment of $200,000 over four (4) years,
                                                   each installment being $50,000 each,
                                                   commencing 15 days before the first
                                                   anniversary of the Effective Date up through
                                                   four (4) years after the Effective Date (the
                                                   “Principal Contribution”), (b) an installment
                                                   payment by the Debtor of $450,000 to be
                                                   paid from Net Income of the Debtor’s
                                                   operations payable over four (4) annual
                                                   installments of $112,500, each year,
                                                   commencing 15 days before one (1) year
                                                   after the Effective Date and continuing until
                                                   15 days before four (4) years after the
                                                   Effective Date and (c) the net proceeds
                                                   whether by collection, recovery or settlement
                                                   (after payment of all fees, expenses and costs
                                                   of such litigation) of the litigation with 1143
                                                   Fifth, LLC (see litigation with 1143 Fifth,
                                                   LLC) under this Plan

“Principals”                                       Owners of the Debtor entity
                                                   Boleslav Ryzinski and Lukas Macniak

“Secured Claim”                                    Any Claim that is secured by a Lien against
                                                   Debtor’s      property       which     under
                                                   non-bankruptcy law was perfected as of the
                                                   Petition Date and is not otherwise avoidable,
                                                   but only to the extent that such Claim is not
                                                   greater than the value of the assets of the
                                                   Debtor securing such debt.

“Secured Creditor”                                 A Creditor holding a Secured Claim.

“Unsecured Claim”                                  Any claim other than a secured claim, an
                                                   administrative claim, a priority claim, a
                                                   priority tax claim or stockholder interest
                                                   claim.


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                                      ARTICLE II

                          DESIGNATION OF CLAIMS AND INTERESTS

       2.1     All claims and interests shall be divided into the following classes.

       2.2     Class 1 consists of the Allowed claim of JP Morgan Chase N.A. which such

creditor alleges is an Allowed secured claim in the amount of $128,559.75.

       2.3     Class      2   consists of the Allowed priority wage claims asserted by

employee-creditors to hold priority wage status under § 507(A)(4) of the Bankruptcy Code.

       2.4     Class 3 consists of the Allowed priority governmental claims asserted by

governmental units to hold priority status pursuant to § 507(A)(8) of the Bankruptcy Code in the

aggregate amount of approximately $425,000.

       2.5     Class 4 consists of the Allowed claims of the general unsecured creditors including,

but not limited to, all unsecured claims, deficiency claims, unsecured governmental claims and

unsecured wage claims in the estimated approximate amount of $3,800,000 - $4,000,000.

       2.6     Class 5 consists of the equity interests held by the Principals in the Debtor each in

the amount of 50%.

       2.2     The Debtor reserves the right to object to the validity, amount and classification of

any claim in this case.


       ANY HOLDER OF A CLAIM OR INTEREST IN ANY OF THE ABOVE
       CLASSES WHO FAILS TO OBJECT IN WRITING TO THE
       CLASSIFICATION PROVIDED IN THE PLAN AT LEAST TWENTY (20)
       DAYS PRIOR TO CONFIRMATION SHALL BE DEEMED TO HAVE
       ACCEPTED SUCH CLASSIFICATION AND TO BE BOUND THEREBY.
       ANY BALLOT WHICH IS EXECUTED BY A HOLDER OF AN
       ALLOWED CLAIM WHICH DOES NOT INDICATE ACCEPTANCE OR
       REJECTION OF THE PLAN SHALL BE DEEMED AN ACCEPTANCE
       OF THE PLAN.


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                                           ARTICLE III

                TREATMENT OF CLASSES THAT ARE NOT IMPAIRED

       4.1     Class 3 (Allowed governmental priority claims).       Pursuant to § 1129(a)(C) of the

Bankruptcy Code and in full satisfaction of such claims, holders of the Allowed pre-petition

priority tax claims of Class 3 shall be paid by the Debtor from the “Pot” annual cash payments

each in the amount of 25% of the aggregate of      allowed claims of such Class commencing upon

the first year after the Effective Date and continuing on an Annual Basis up until April 4, 2024 (the

last payment year date may be a shortened year commencing with the third year after the Effective

Date and continuing up until April 4, 2024, which payments shall have a value as of the Effective

Date of the Plan equal to the allowed amount of such claim. All payments shall be applied in the

following priority; tax debts which are responsible person and officer taxes that constitute personal

obligations of officers under the Internal Revenue Tax Code and thereafter to all other taxes. The

payment period may not be extended.

       4.2     Class 5 Ownership interests shall retain their equity interest in the Debtor and, in

addition, shall receive a discharge of all claims asserted against the ownership interest arising from

or related to, or the guaranty of, the claims against the Debtor pursuant to ¶ 18.5 of the Plan in

consideration for the payment to the Debtor by such ownership interest of a total of $200,000

payable   in four annual payments of $50,000 each commencing 15 days before the First

Anniversary of the Effective Date (each payment made 15 days before the Anniversary of the

Effective Date) for a period of four (4) years up through the fourth year after the Effective Date

(“Principal Contribution”).    The ownership interest (the Principals) shall be entitled to the

releases provided for in ¶ 18.5 of the Plan if the ownership makes all the required payments and

such payments are distributed to creditors whether or not the Plan is finally consummated.

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                                               ARTICLE V

                   TREATMENT OF CLASSES THAT ARE IMPAIRED

       5.1     Class 1    In full satisfaction of the claims of JP Morgan Chase N.A. (the “Bank”).

Such creditor filed a Proof of Claim (Claim No. 35) asserting a claim in the amount of $128,559.75

secured by inventory, accounts, chattel paper, equipment, general intangibles and proceeds. Such

creditor shall be paid its Allowed secured claim by the Debtor through the making of monthly

payments each in the amount of $4,500 per month commencing on the Effective Date against the

principal amount of the Allowed secured claim plus interest at the prevailing pre-petition interest

rate until the Allowed claim is paid in full. The time period for payment of Class 1 shall not be

extended as is the case for other Classes as provided in “Implementation of Plan”.

       5.2     Such class shall retain its pre-petition liens to the extent that such liens were valid

and perfected as of the Chapter 11 filing date. Upon the full payment of the claims of the Bank,

the Bank shall deliver written releases of, or assign at the direction of the Debtor, its security

interests on the Debtor’s property.

       5.3     Class 2 Pursuant to § 1129(a)(9)(B)(i) of the Bankruptcy Code holders of the

Allowed pre-petition priority wage claims shall be paid deferred annual cash payments each in the

amount of 25% of such allowed claim, upon the first year after the Effective Date and continuing

annually up through four (4) years after the Effective Date, which payments shall have a value as

of the Effective Date of the Plan equal to the allowed amount of such claim. The four (4) year

period may be extended as provided in “Implementation of Plan”.

       5.4     Class 4    The holders of Allowed general unsecured claims shall be paid their pro

rata share of the balance of a “Pot” described below (see Implementation of Plan) in annual

installments commencing the first year after the Effective Date and continuing annually for four


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(4) years after the Effective Date in full satisfaction of such claims.   Initially, payments shall be

made on a worst-case basis (1.5% of the Principal Balance of an Allowed Class 4 claim as

identified in the Disclosure Statement) and shall be adjusted as pending matters such as

objections and determination of claims are determined and       the assets deposited into the Pot are

quantified.

       5.5     In the event that there is an insufficient amount to make a payment due to any

Class (other than Classes 1 and 3) from Net Income (the “Deficiency”), the Deficiency shall

accrue and be paid in the following year, in addition to the Debtor’s obligation to make the

payment from Net Income in such year. The four (4) year period shall be extended for another

two (2) years in the event the Debtor has failed to make the full annual installment payment from

Net Income in any year during the four (4) year payment period and shall be extended by four (4)

years in the event the Debtor fails to make the full annual installment payment from Net Income

in any two (2) years during the four (4) year payment period.

       5.6     In the event that Classes 2 and 4 do not receive the entire installment balance due

in any year as a result of the failure of the Debtor’s obligation to make an installment payment

from Net Income, the Debtor shall deliver to each creditor in such Class Annual Statements of its

operations in such year along with any distribution payment made to the creditor in such Class,

reflecting the reason for the failure to pay the entire installment balance due in such year (see

definition Net Income).    For the first year, the Annual Statement shall reflect operations which

commence from the Confirmation Date up until 11 months after the Confirmation Date (the

“First Annual Last Day”). Thereafter, during the second year, the Annual Statement shall

reflect operations from the First Annual Last Day for a period of 12 months and so on until the

termination of the payment period under the Plan.


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       5.7      The Debtor has agreed to escrow with its insolvency attorney the proceeds of the

settlement with DMC totaling $80,000 payable over an installment payment schedule payable

over 90 days after entry of a Bankruptcy Court Order approving the Stipulation which was

entered on September 10, 2019. This payment shall constitute an escrow payment on account

of the obligations due under the Plan.

                                         ARTICLE VI

                               1143 FIFTH, LLC LITIGATION

       6.1      On December 6, 2016 the Debtor and 1143 Fifth, LLC, the owner of certain real

property located at 1143 Fifth Avenue, New York, New York (the “Real Property”) entered into a

contract     providing for the Debtor render contracting services consisting of      demolition,

excavation, scaffolding, shoring, rendering certain concrete, masonry and other construction work

required to be performed with respect to the Real Property. The contract had a total price of

$4,991,707.90. During the course of the contract, and as the contract was close to being

completed, the Debtor alleged that the owner failed to comply with the responsibilities under the

contract. The Debtor put the owner on notice that it would terminate the contract unless the

owner cured the defaults alleged by the Debtor. A day before the Effective Default Date, the

owner issued a notice purporting to terminate the contract. The owner has refused to pay the

Debtor any sums which the Debtor claims is owed under the contract. The Debtor filed a

Mechanic’s Lien in the amount of $576,698.62 representing its valid claims for damages arising

from the owner’s breach of the contract and for work undisputedly performed by the Debtor which

remains unpaid.

       6.2      The owner filed a claim in the amount of $829,804 purporting to constitute the

costs of completing the contract and assessing the Debtor damages as a consequence. The Debtor


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believes the claim of this creditor to be not meritorious and that it has a legitimate counterclaim

which may be greater than the amount set forth on its Mechanic’s Lien and will prevail in any

litigation in this matter.

        6.3     The Debtor intends to proceed with this litigation seeking to recover the amounts

the Debtor believes are due and owing in the Bankruptcy Court. Any amounts recovered whether

by litigation, collection or settlement shall be deposited into the “Pot” for distribution under the

Plan, net after payment of the cost of litigation, attorney’s fees and disbursements, and any other

charges with respect to the litigation. The Debtor shall use its best efforts to pursue this litigation

in an economical and expeditious fashion.

                                           ARTICLE VII

                                IMPLEMENTATION OF PLAN

        7.1     All creditors with Allowed claims, shall be paid their claims from the “Pot”

described below in waterfall fashion. Class 4 creditors shall share, on a pro rata basis, in the

“Pot” balance remaining after the non-Class 4 creditors are paid (“Class 4 Distribution). All

distributions may be pre-paid without penalty.

        7.2     The “Pot” shall be funded through a combination of (a) principals payment of

$200,000 over four (4) years, each installment being $50,000 each, commencing 15 days before

the first anniversary of the Effective Date up through four (4) years after the Effective Date (the

“Principal Contribution”), (b) an installment payment by the Debtor of $450,000 to be paid from

Net Income of the Debtor’s operations payable over four (4) annual installments of $112,500,

each year, commencing 15 days before one (1) year after the Effective Date and continuing until

15 days before four (4) years after the Effective Date, and (c) the net proceeds whether by

collection, recovery or settlement, (after payment of all fees, expenses and costs of such litigation)


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of the litigation with 1143 Fifth, LLC (see litigation with 1143 Fifth, LLC) under this Plan.

        7.3    The “Pot” is estimated to total over $1,000,000. Class 4 creditors shall share in the

“Pot”, remaining after the non-Class 4 creditors are paid. The Debtor shall make determinations

at the time of each annual distribution of the amounts necessary to pay the non-Class 4 creditors in

order of the priority of such creditors before determining the amount payable to the Class 4

creditors. However, the Debtor shall make payments to Class 4 under the assumption that “Pot”

sources shall make their required payments.

        7.4    The “Pot” shall be distributed in the following priority; (a) the Debtor’s legal and

an accounting costs in effecting the distribution and (b) the distribution described in the Plan.

        7.5    In the event that there is an insufficient amount to make a Plan payment due to

Classes 2 and 4, the Deficiency shall accrue and be paid in the following year, in addition to the

Debtor’s obligation to make the distribution in such following year. The four (4) year period

shall be extended in the case of failure to pay Classes 2 and 4 for another two (2) years in the

event   there is a Deficiency in any year during the four (4) year payment period and shall be

extended by four (4) years in the event there is a Deficiency in any two (2) years during the four

(4) year payment period.

        7.6    In the event that there is a Deficiency as a result of the Debtor’s failure to make

an installment payment to Classes 2 and 4 from its Net Income, the Debtor shall deliver to each

creditor in such Class Annual Statements of its operations in such year along with any

distribution payment made to the creditor in such Class, reflecting the reason for the failure to

pay the entire installment balance due in such year (see definition Net Income).        For the first

year, the Annual Statement shall reflect operations which commence from the Confirmation Date

up until 11 months after the Confirmation Date (the “First Annual Last Day”). Thereafter,


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during the second year, the Annual Statement shall reflect operations from the First Annual Last

Day for a period of 12 months and so on until the termination of the payment period under the

Plan.

        7.7    The failure to make Plan payments to the creditors of by the time periods set forth

in the Plan shall constitute a default under the Plan.

        7.8    The Debtor has agreed to escrow with its insolvency attorney the proceeds of the

settlement with DMC totaling $80,000 payable over an installment payment schedule payable

over 90 days after entry of a Bankruptcy Court Order approving the Stipulation which was

entered on September 10, 2019. This payment shall constitute an escrow payment on account

of the obligations due under the Plan.

                                          ARTICLE VIII

              ADMINISTRATION EXPENSES AND UNCLASSIFIED CLAIMS

        8.1    Chapter 11 administration creditors, including the professionals for the Debtor

who have rendered services and who are entitled to compensation under §§ 327 and 503(b) of the

Bankruptcy Code, and the fees payable to the Office of the United States Trustee under 28

U.S.C. § 1930, are not classified. All fees of professionals retained by the Debtor shall be

approved by the Bankruptcy Court and paid by the Debtor.

        8.2    All post-confirmation quarterly reports and quarterly fees required by the United

States Trustee under 28 U.S.C. § 1930 shall be filed and paid on a quarterly basis until entry of a

final decree, dismissal of the case or conversion to Chapter 7.

                                           ARTICLE IX

                                  EXECUTORY CONTRACTS

        9.1    The following pre-petition constructions contracts will be assumed under the Plan,

402 East 118th Street and 336 East 112th Street. The Debtor will assume its Lease at its premises
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located at 39 West 38th Street, Suite 1100W, New York, New York 10018, the Lease on its storage

facility located at Greenbrook in Stamford, Connecticut and equipment lease with TCF Capital

Solutions providing for payment of $1,770 per month for an additional 14 payments and for

ownership of the equipment. The Debtor believes that there will not be any required expenditure

of funds in order to cure these contracts. The Debtor is prepared to demonstrate its ability to

continue and complete the above referred construction contracts.

       9.2     The Debtor will reject any other executory contracts on the Effective Date.

Persons holding claims as a result of the rejection of any executory agreement identified in the

Plan may file a claim with the Bankruptcy Court within 30 days of the Order approving the Plan.

                                          ARTICLE X

                                       DISTRIBUTIONS

       10.1    Distribution Agent.    Payments due under the Plan after Confirmation and

Consummation shall be made by the Debtor.

       10.2    Manner of Payments Under the Plan.          Payments to be made by the Debtor

pursuant to the Plan shall be made by check drawn on a domestic bank or by wire transfer from a

domestic bank.   Payments made to Class 4 unsecured creditors shall be accompanied by a copy

of the Debtor’s Annual Statement reflecting the Debtor’s calculation of the amounts due to Class

4 unsecured creditors in the event that Class 4 unsecured creditors do not receive the full annual

installment amount due under the Plan.

       10.3    Fractional Cents.      Any other provision of the Plan to the contrary

notwithstanding, no payments of fractions of cents will be made. Whenever any payment of a

fraction of a cent would otherwise be called for, the actual payment shall reflect a rounding of

such fraction to the nearest whole cent (up or down).


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         10.4   Unclaimed Cash.     Except as otherwise provided herein, in the event any Entity

fails to claim any cash within six (6) months from the date such cash is distributed, or such

Entity fails to cash a check received as a distribution within six (6) months from the date of the

distribution, such Entity shall forfeit all rights thereto, and to any and all future payments, and

thereafter the Claim for which such distribution was made shall be treated as a Disallowed

Claim.    In this regard, distributions to Claimants entitled thereto shall be sent to their last

known address set forth on a proof of claim filed with the Court or if no proof of claim is filed,

on the schedules filed by the Debtor, or to such other address as may be designated by a

Claimant.

         10.5   Disputed Payments or Distributions.     In the event of any dispute between and

among Claimants (including the Entity or Entities asserting the right to receive the disputed

payment or distribution) as to the right of any Entity to receive or retain any payment or

distribution to be made to such Entity under the Plan, the Debtor may, in lieu of making such

payment or distribution to such Entity, make it instead or to a disbursing agent, for payment or

distribution as ordered by a court of competent jurisdiction or as the interested parties to such

dispute may otherwise agree among themselves.

                                          ARTICLE XI

                  PROCEDURES FOR RESOLVING DISPUTED CLAIMS

         11.1   Time Limit for Objections to Claims. Objections to Claims shall be filed by the

Debtor with the Court and served upon each holder of each of the Claims to which objections are

made not later than sixty (60) days subsequent to the Effective Date or within such other time

period as may be fixed by the Court. Unless otherwise extended by Order of the Court, the

Debtor may file an objection to the allowance of any Claim filed resulting from the rejection of


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an executory contract on the later of thirty (30) days following the Effective Date or within thirty

(30) days after the filing of such Claim and service of a copy of such Claim upon the Debtor as

provided for in the Plan.

       11.2      Resolution of Disputed Claims.         Unless otherwise ordered by the Court, the

Debtor shall litigate to judgment, settle or withdraw objections to Disputed Claims, in its sole

discretion, without notice to any party in interest, other than notice of not less than ten (10) days’

notice, to the United States Trustee.

       11.3      Payments.     Payments and distributions to each holder of a Disputed Claim that

ultimately becomes an Allowed Claim shall be made in accordance with the provisions of the

Plan with respect to the Class of Creditors to which the respective holder of an Allowed Claim

belongs. Such payments and distributions shall be made as soon as practicable after the date

that the Court enters a Final Order allowing such Claim, but not later than thirty (30) days

thereafter. Payments shall be made as and when a Disputed Claim has become, in whole or in

part, an Allowed Claim or a Disallowed Claim, pursuant to a Final Order or agreement between

the Debtor and such Claimants.

                                           ARTICLE XII

                                        EVENT OF DEFAULT

       12.1      The occurrence of any one of the following shall constitute a default by the

Debtor under the Plan:

                 a.       the Debtor defaults in making payments due under the Plan (and the grace

       period provided for herein shall have passed), and unless such default (hereinafter

       referred to as an “Event of Default”) has been waived in accordance with the terms

       herein;


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               b.       the Debtor breaches any of the covenants contained herein prior to

       payment of payments due under the Plan;

               c.       the Debtor seeks relief under any Federal or State statute (other than the

       Debtor’s present Chapter 11 case); or

               d.       a receiver, liquidator, custodian, or trustee is appointed for substantially all

       of the property of the Debtor prior to completion of the payment of payments due.

       12.2    Upon the occurrence of an Event of Default, any Creditors shall notify the Debtor

therefor, and the Debtor shall have ten (10) business days from the date of the sending of such

notice to cure such breach, or request that the creditors extend the time for performance by the

Debtor for a period not exceeding 60 days. Extension of such breach may be granted provided

that creditors holding more than 2/3 an amount of the claims responding to the Debtor’s request

for an extension grant the Debtor an extension not exceed 60 days.        In the event the Debtor fails

to cure such breach within the prescribed period, or the Debtor fails to cure the breach, or the

time which it has been extended under this Plan, the Debtor shall be deemed to have defaulted on

the terms of the Plan, and the Creditors shall have all rights available to them under state law or

the Bankruptcy Code and the Bankruptcy Rules, or under this Plan, including conversion to a

Chapter 7 case.

                                           ARTICLE XIII

                                    THE REORGANIZED DEBTOR

       13.1    Upon the Effective Date, the Debtor will become the “Reorganized Debtor” and

shall have achieved a reorganization involving the various claims of all the creditors under the

Plan. The Reorganized Debtor shall change its core business from General Contractor to a

Construction Manager which will eliminate the funding of payroll and substantial subcontractor


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expense and increase the Net Income.        The Reorganized Debtor shall continue its corporate

identity and shall continue to function as a corporation with all the authority granted by its

certificate of incorporation, the bylaws and appropriate law.      The principals shall continue to

own the shares of stock of the Reorganized Debtor in the same percentages that such principals

owned the share of stock of the Debtor.     The Principals shall continue to act as Officers. All the

present provisions in the certificate of incorporation and the by-laws, shareholders’ meetings,

election of directors and other corporate matters shall govern the Reorganized Debtor.            The

provisions of New York Corporation Law shall govern the election and selection of any officer

and director of the Debtor, and any successor thereof.

       13.2    Upon Confirmation, the Reorganized Debtor shall be vested with all property of

the Debtor free and clear of claims and interests, except as set forth in the Plan, and after

Confirmation the Reorganized Debtor shall continue its business and manage its affairs without

further supervision of the Court subject to the retention of jurisdiction provisions set forth herein.

                                       ARTICLE XIV

                               MODIFICATION OF PLAN

       14.1    The Debtor may amend or modify this Plan at any time prior to Confirmation

without approval of the Court; after Confirmation, the Debtor may modify the Plan before

substantial consummation with approval of the Court.           The Debtor may make immaterial

modifications to the Plan at any time upon notice of presentment of such modifications to all

Creditors.




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                                          ARTICLE XV

                         PROVISIONS FOR CLASSES WHICH ARE
                       IMPAIRED AND DO NOT ACCEPT THE PLAN


       15.1      In the event that any impaired class of Claims or interests does not accept the

Plan, the Bankruptcy Court may nevertheless confirm the Plan at the Debtor’s request if all other

requirements under 1129(a) of the Bankruptcy Code are satisfied, and if, with respect to each

impaired class which has not accepted the Plan, the Bankruptcy Court determines that the Plan

“does not discriminate unfairly and is “fair and equitable”. Confirmation pursuant to § 1129(b)

of the Bankruptcy Code requires that at least one impaired class of claims accept the Plan. The

Debtor believes that the Plan is “fair and equitable” and that the Plan does not “discriminate

unfairly”.

       15.2      Secured Claims. A plan will be deemed fair and equitable with respect to a

non-accepting class of secured claims if (a) the holder of each claim in such class will retain its

lien or liens and receive deferred cash payments totaling the allowed secured claim, of a value, as

of the Consummation Date, equal to the value of such holder’s interest in the collateral (b) the

holder of each claim in such class will receive the proceeds from any sale of such collateral, or

(c) the holder of each claim in such class will realize the indubitable equivalent of its allowed

secured claim.

       15.3      Unsecured Claims.    A plan will be deemed fair and equitable with respect to a

non-accepting class of unsecured creditors’ claims if (a) the holder of each claim in such class

will receive or retain under the plan property of a value, as of the Consummation Date, equal to

the allowed amount of its claim, or (b) holders of claims or interests that are junior to the claims




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of such creditors will not receive or retain any property under the plan on account of such junior

claim or interest.

        15.4    Interests.   A plan will be deemed fair and equitable with respect to a

non-accepting class of interests if the plan provides that (a) each member of such class receives

or retains on account of its interest property value, as of the Consummation Date equal to the

greatest amount of any fixed liquidation preference to which such holder is entitled, any fixed

redemption price to which such holder is entitled, or the value of such interest, or (b) holders of

interests that are junior to the interests of such class will not receive or retain any property under

the plan on account of such junior interests.

                                          ARTICLE XVI

                                     GENERAL PROVISIONS

        16.1    Notices. All notices, requests, elections or demands in connection with the Plan,

including any change of address of any Claimant or holder of a Stock Interest for the purposes of

receiving distributions under the Plan and forfeiting same pursuant to this Plan hereof, shall be in

writing and shall be deemed to have been given when received or, if mailed, five days after the

date of mailing provided such writing shall have been sent by registered or certified mail,

postage prepaid, return receipt requested, and if sent to the Debtor, addressed to:

                                            Leo Fox, Esq.
                                    630 Third Avenue - 18th Floor
                                     New York, New York 10017

All notices and requests to Claimants and Stock Interest Holders of any Class shall be sent to

them at their last known address.    The Debtor, and any Claimant or Stock Interest Holder of any

Class, may designate in writing any other address for purposes of this § which designation shall

be effective upon receipt.


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       16.2     Headings. The headings used in the Plan are inserted for convenience only and

neither constitutes a portion of the Plan nor in any manner affect the provisions of the Plan.

       16.3     Severability.    Should any provision in the Plan be determined to be

unenforceable, such determination shall in no way limit or affect the enforceability and operative

effect of any and all other provisions of the Plan.

       16.4     Governing Law.      Except to the extent that the Bankruptcy Code is applicable,

the rights and obligations arising under the Plan shall be governed by, and construed and

enforced in accordance with, the internal laws of the State of New York.

                                         ARTICLE XVII

                                UNITED STATES TRUSTEE FEES

       17.1     All unpaid fees to the United States Trustee under 28 U.S.C. § 1930 through the

Effective Date shall be paid on or before the Effective Date from funds in the Distribution

Account.      Any unpaid fees due to the United States Trustee after the Effective Date shall be

paid from the operating funds of the Debtor when such fees are due and payable.

                                         ARTICLE XVIII

                DISCHARGE OF CLAIMS AND INTERESTS DISCHARGE

       18.1     Pursuant to § 1141(d) of the Bankruptcy Code, the Confirmation Order shall

discharge all claims against the Debtor.        Except as expressly provided herein, the rights

afforded in the Plan and the treatment of all Creditors and Holders of Stock Interest provided

herein shall be in exchange for and in complete satisfaction, discharge and release of all Claims

as of the Effective Date, of any nature whatsoever, whether known or unknown, contingent or

liquidated including any interest accrued or expenses incurred thereon from and after the

Debtor’s Petition Date, against the Debtor, the Debtor-in-Possession or the reorganized Debtor


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(or any of their properties or interest in properties), Except as otherwise provided in the Plan,

upon the Consummation Date, all Claims against the Debtor and will be satisfied, discharged and

released in full exchange for the consideration provided for hereunder. All persons and entities

shall be precluded from asserting against the Debtor, the reorganized Debtor, its successors, or

its respective assets or properties, any other Claims based upon any act or omission, transaction

or other activity of any kind or nature that occurred prior to the Confirmation Date.

       18.2    Injunction

       Except as otherwise provided in the Plan or Confirmation Order on and after the

Confirmation Date, all entities which have held, currently hold or may hold a debt, claim, other

liability or interest against the Debtor that would be discharged upon Confirmation of this Plan,

pursuant to the provisions of § 1141(d) of the Bankruptcy Code and this section are permanently

enjoined from taking any of the following actions on account of such debt, claim, liability,

interest or right: (a) commencing or continuing in any manner any action or other proceeding on

account of such claim against property which is to be distributed under this Plan, other than to

enforce any right to distribution with respect to such property under the Plan; (b) enforcing,

attaching collecting or recovering in any manner or judgment, award, decree, order other than as

permitted under Sub-paragraph (a) above; and (c) creating, perfecting or enforcing any lien or

encumbrance against any property to be distributed under this Plan.

       18.3    Exculpation

       To the extent permitted by applicable law, if the respective affiliates, officers, directors,

members, representatives, attorneys, accountants, financial advisors, and agents of the Debtor

and their professionals act in good faith, they shall not be liable to any holder of a Claim, or any

party with respect to any action, forbearance from action, decision, or exercise of discretion


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taken during the period from the Petition Date to the Effective Date in connection with (a) the

operation of the Debtor; (b) the proposal or implementation of any of the transactions provided

for or contemplated under this Plan; or (c) the administration of this Plan or the distribution to be

made pursuant to this Plan, other than for willful misconduct or gross negligence. The Debtor

and its respective affiliates, officers, directors, members, representatives, attorneys, accountants,

financial advisors and agents, may rely on the opinions of counsel, certified public accountants,

and other experts or professionals employed by the Debtor, and such reliance shall conclusively

establish good faith.

        18.4    Releases by the Debtor

        On the Effective Date, to the fullest extent permissible under applicable law, the Debtor

and Debtor-in-Possession shall be deemed to forever release, waive and discharge all claims,

demands, debts, rights, causes of action or liabilities (other than the right to enforce the obligations

of any party under the Plan and the documents delivered in connection therewith) against the

principals, whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known

or unknown, foreseen or unforeseen, now existing or hereafter arising, in law, equity or otherwise,

that relate in any way to the Debtor or Debtor-in-Possession, that are based in whole or in part on

any act or omission, transaction, event or other occurrence taking place on or prior to the Effective

Date, and that could have been asserted by or on behalf of the Debtor or its Estate, whether

directly, indirectly, derivatively or in any representative or other capacity. Nothing in this § shall

be construed as a release of any fraud, gross negligence, or willful misconduct.

        18.5    Releases by Holders of Claims and Interests

        As of the Effective Date, except as otherwise provided in the Plan or arising from

intentional fraud, gross negligence, or willful misconduct, and in consideration for the payments


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being made by the Principals with respect to the Plan, each holder of a claim receiving

distribution under the Plan (the “Releasing Party”) is deemed to have released the Debtor and the

principals from any and all claims, interests, obligations, rights, suits, damages, causes of action,

remedies and liabilities whatsoever, including any direct or guarantee claims held by any of the

Releasing Parties against the Debtor and its principals or derivative claims asserted on behalf of

the Debtor[s], whether known or unknown, foreseen or unforeseen, existing or hereinafter

arising, in law, equity, or otherwise, whether for tort, contract, violations of federal or state

securities laws, or otherwise, that each Releasing Party would have been legally entitled to assert

(whether individually or collectively), based on or relating to, or in any manner arising from, in

whole or in part, any events, acts, omissions, or the transactions giving rise to, any claim or

Interest that is treated in the Plan, the business or contractual arrangements between the Debtor

and any Released Party, the restructuring of claims and Interests before or in the Chapter 11

Cases, the negotiation, formulation, or preparation of the Plan, or related agreements,

instruments, or other documents, or upon any other act or omission, transaction, agreement,

event, or other occurrence relating to the Debtor, or its principals, taking place on or before the

Effective Date. Notwithstanding anything to the contrary in the foregoing, the releases set forth

above do not release any post-Effective Date obligations of any party under the Plan or any

document, instrument, or agreement executed to implement the Plan.

                                         ARTICLE XIX

                              RETENTION OF JURISDICTION

       19.1    Notwithstanding Confirmation, the Bankruptcy Court shall retain jurisdiction for

the following purposes:

               (a)     Determination of the allowability of claims upon objection to such Claims.


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               (b)   Determination of request for payment of Claims and fees entitled to
                     priority under § 507(a)(1), or of post-petition fee disputes.

               (c)   Resolution of any dispute concerning interpretation of the Plan.

               (d)   Implementation of the provisions of the Plan.

               (e)   Entry of Orders in aid of consummation of the Plan including Orders to
                     protect the revested and Reorganized Debtor from creditor action.

               (f)   Modification of the Plan pursuant to § 1127 of the Bankruptcy Code.

               (g)   Adjudication of any causes of action including voiding powers action
                     commenced by the Debtor, including the commencement and prosecution
                     of 1143 Fifth, LLC litigation.

               (h)   Entry of a final order of Confirmation closing the case.

Dated: New York, New York
       October 8, 2019

                                            ABR BUILDERS LLC


                                            By:    /s/ Boleslav Ryzinski________
                                                   Boleslav Ryzinski
                                                   President




/s/ Leo Fox______________
Leo Fox, Esq.
Attorney for Debtor
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